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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                               :
                                          :
              Plaintiff,                  :       Civil Action No. 1:20-cv-3761(TNM)
                                          :
       v.                                 :
                                          :
FEDERAL BUREAU OF                         :
PRISONS and UNITED                        :
STATES PAROLE COMMISSION,                 :
                                          :
              Defendants.                 :

                  PLAINTIFF’S RESPONSE TO DEFENDANTS’
                  MOTION FOR SUMMARY JUDGMENT AND
            PLAINTIFF’S CROSS MOTION FOR SUMMARY JUDGMENT

       Plaintiff, John Newman, by and through his counsel, Dan Hardway pursuant to Fed. R. of

Civ. P. 56 and LCvR 7(b), and this Court’s scheduling orders, hereby respond to Defendants’

Motion for Summary Judgment and move this Court to grant Plaintiff’s Cross-Motion for

Summary Judgment pursuant to Fed. R. of Civ. P. 56 and LCvR 7(h).

       Counsel for the Plaintiff respectfully submits and incorporates the accompanying

Memorandum of Opposing Points and Authorities in Response to Defendants’ Motion for

Summary Judgment and in Support of Plaintiff’s Cross-Motion for Summary Judgment.

Plaintiff has also filed herewith, and in support hereof, Plaintiff’s Response to Defendants’

Statement of Uncontested Material Facts as to which there is no Genuine Issue, Plaintiff’s

Statement of Uncontested Material Facts, the Declaration of John Newman and the Declaration

of Dan L. Hardway with exhibits. A Proposed Order consistent with the Plaintiff’s Response to

Defendants’ Motion for Summary Judgment and in Support of Plaintiff’s Cross-Motion for

Summary Judgment is also submitted herewith. Plaintiff has also filed herewith an Alternative

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Proposed Order that is also consistent with the Plaintiff’s Response to Defendants’ Motion for

Summary Judgment and in Support of Plaintiff’s Cross-Motion for Summary Judgment.


                                           Respectfully submitted,

                                           /s/ Dan L. Hardway
                                           _____________________________
                                           Dan L. Hardway #WV0001
                                           1114 Erbacon Rd
                                           Cowen, WV 26206
                                           Phone (304) 449-4722
                                           dan@hardwaylaw.com
                                           Counsel for Plaintiff


   Dated: 20 November 2021




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